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UNITED STATES DISTRICT COURT
for the
Western District of Wisconsin

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 19-cr-118-jdp
ROJAE A, CROSSE,
Defendant.
WAIVER OF JURY TRIAL
I, Rojae A, Crosse, understand that I am entitled to a jury trial on the charge in the

indictment pending in this case, and I have discussed this right fully with my attorney.
After receiving my attorney’s advice, with my signature below I knowingly and

 

 

voluntarily waive a trial in this case, 7 ;

Date: i Ld C COREL
Rojae A. Crosse, Defendant

Date: 71612020 eter R Moyer. J

 

 

Peter R. Moyers, Attorney for Defendant

Pursuant to Rule 23(a)(2), the government hereby consents to this jury trial waiver.

pate,_I- 1-20 Polo Aine.)
Elizabeth Altman/ Timothy O’Shea
Assistant U.S. Attorney

Pursuant to Rule 23(a)(2), the Court hereby consents to this jury trial waiver,

Date: suey q, e420 (ae OD. (2aAA.——.

James D, Peterson
Chief United States District Judge

 

 

 
